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 6                            UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   SCOTT FILIPEK.                                       Case No.: 3:22-cv-76-L-BLM
10                                       Plaintiff,
11   v.
                                                          ORDER TRANSFERRING CASE TO
12   BYRAM HEALTHCARE CENTERS,                            CENTRAL DISTRICT OF
13   INC.,                                                CALIFORNIA
14                                      Defendant.
15
           On January 20, 2022, Defendant removed this action from Orange County Superior
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     Court. (ECF 1). Defendant was required to remove the action “to the district court . .
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     embracing the place where [it was] pending.” 28 U.S.C. § 1441(a). The United States
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     District Court for the Southern District of California encompasses Imperial and San
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     Diego counties, not Orange.
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           The Court therefore issued an Order to Show Cause as to why it should not remand
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     or transfer this action. The parties were ordered to file simultaneous briefs no later than
22
     January 31, 2022, on this issue.
23
           Defendant contends it intended to remove this action to the Central District of
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     California, Southern Division, not the Southern District of California. (ECF 7).
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     Defendant requests to transfer this action there. Id. Plaintiff did not respond to the Court’s
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     order. (See Docket).
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 1          There is no Ninth Circuit or Supreme Court precedent on this issue (i.e., the proper
 2   course when a defendant removes a case from state court to the wrong district). Some
 3   district courts in this Circuit have remanded cases under those circumstances while others
 4   have transferred them.
 5          Defendant’s error is procedural. The issue relates to venue, not subject matter
 6   jurisdiction. Overall, it is appropriate to transfer this action. See 28 U.S.C. § 1406(a) (“the
 7   district court of a district in which is filed a case laying venue in the wrong division or
 8   district shall dismiss, or if it be in the interest of justice, transfer such case to any district
 9   or division in which it could have been brought.”); 28 U.S.C. § 1446(a) (“a defendant or
10   defendants desiring to remove any civil action from a State court shall file in the district
11   court of the United States for the district and division within which such action is pending
12   a notice of removal.”)
13          The Court therefore instructs the Clerk to TRANSFER this action to the Central
14   District of California, Southern Division. The Court also vacates the hearing on
15   Defendant’s motion to dismiss.
16          IT IS SO ORDERED.
17   Dated: February 8, 2022
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